 

.|>L»JN

O\OOO\!O\U'|

11
12
13
14
15
16
17
18
'19
20
21
22
23
24
25
26
27
28

CaSe 07-28444 Filed 01/03/08 lDOC 203

 

F\LED

 

JAN -3 2008

 

 

 

STATES BANKRUPTCY COURT
' l;£;;§gRN DlSTR|CT OF CAL\FORN|A
UNITED STATES BANKRUPTCY C - -

 

 

 

EASTERN DISTRICT OF CALIFQRNIA

SACRAMENTO DIVISION

In re CaSe NO. O7-28444-A-ll

OCCMEDS BILLING SERVICES,
INC.,

Docket Control No. OHS-l,
WFH-7, AND WFH-S

Date: January 3, 2008

Debtor. Time: 9:00 a.m.

va`/\/VV\./`./V

 

 

NOTICE OF INTENDED DECISTON

Before the court are three motions, two by the debtor in
possession and one by secured creditor Bridge Healthcare Finance,
LLC. Bridge asks that the automatic stay be terminated so that
it may pursue all of its collateral. The debtor, in addition to
opposing Bridge's motion, seeks to have Bridge held in civil
contempt for its alleged prior violation of the automatic stay,
and to use cash collateral.

As to the civil contempt motion, the court-announced its
decision and made its preliminary findings and conclusions orally
and on the record. It directed the debtor to lodge proposed
written findings and conclusions and to file its motion for
attorney's fees for services related to the prosecution of the
civil contempt motion. The debtor must file and lodge these

documents no later than February 4, 2008.

 

 

O\OOO\IO\UI-l>

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

CaSe 07-28444 Filed Ol/03/08 DOC 203

Also, given the disposition announced below of Bridge's
motion for relief from the automatic stay, and given the court's
prior order not permitting the debtor to use Bridge's cash
collateral, the court will not compel Bridge to repay the $85,407
swept post-petition from the debtor's bank account to the debtor.
Instead, this sum shall be applied to Bridge's claim against the
debtor and not accounted for as a post-petition use of Bridge's
cash collateral.

The motion for relief from the automatic stay shall be
granted in part.

By this motion, Bridge seeks relief from the automatic stay
to proceed against its collateral, consisting primarily of the
debtor's accounts receivable, rights to payment, and intellectual
property. This relief is sought pursuant to ll U.S.C. §
362(d)(1) on the grounds that an effective reorganization is not
in prospect because the debtor did not receive permission to use
Bridge's cash collateral, that there is no other source of
funding for the debtor's operations (other than a short-term loan
from an insider), and that Bridge's collateral position has
worsened since the filing of the petition in large part to the
failure of the debtor's new business model.

On the other hand, the debtor argues that (l) despite its
inability to use Bridge's cash collateral, the debtor is still in
business; (2) Bridge's cash collateral has been improved and not
been depleted; and (3) the debtor should be given the opportunity
“to realize on the benefits of [its] efforts” to collect on the
account receivables, under the current arrangement of the debtor

collecting at Bridge's sole expense.

 

 

C>\DOO\]O\Lll-I>bl[\)»_a

N[\)NN[\)NNN[\)-*o--»-‘»-¢>-‘>-»-¢»-¢»_d»_¢
OO\lO`\L/l-‘LUJ[\)*_‘C>\OOO\]O\M-PL)JN*_‘

 

CaSe 07-28444 Filed 01/03/08 DOC 203

Bridge has filed a reply, contending that: (1) the debtor
has not established an ability to reorganize; (2) the debtor will
be unable to adequately protect Bridge's interest in its
collateral; (3) the debtor has failed to make significant
progress collecting its pre-petition rights to payment; and (4)
relief from the automatic stay must include the software because
it is essential in the collection of the receivables.

The court agrees with Bridge. The debtor has not
established that it has the ability to reorganize its affairs.

First, as the court pointed out in its December l Memorandum
Decision, the debtor's new business model “has fallen
significantly short of producing the receivables it predicted at
the beginning of this case.” §§§ December l, 2007 Memorandum, at
7. Through the week of November 19, the debtor projected the
generation of $124,274 in post-petition accounts receivable, but
actually generated only $44,371, a negative variance of $79,903.
None of these receivables came from new clients. §§§ December l,
2007 Memorandum, at 7.

'The post-petition income figures presented in Exhibit P do
not convince the court that anything significant has changed
since it authored the December l Memorandum,

Second, the court has denied the debtor's use of Bridge's
cash collateral. And, the debtor has secured no alternative,
long-term financing for its operations.

Third, Bridge's calculations show that, from the petition
date through the end of the week of December 10, 2007, Bridge's
protection in pre-petition receivables had diminished by $23,468.

And, while the inclusion of post-petition receivables increases

3_

 

 

-l>b~)l\.)

C\DOC\!O\L/l

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

CaSe 07-28444 Filed 01/03/08 DOC 203

the debtor's protection in pre and post-petition receivables by

$35,724, since the petition date, this figure does not take into
account DSI's claim that the debtor is holding $37,807.83 in DSI
funds. When taken into account, the debtor's protection in pre

and post-petition receivables is a net of negative $2,084. §§§

Exhibit A to December 27, 2007 Supplemental Memorandum of Bridge
(Scott H. Mitchell, Jr. Declaration), at HI 7-9.

Fourth, the debtor's proposed chapter ll plan is unlikely to
be confirmed because (i) it proposes the surrender only some of
Bridge's collateral, namely the receivables, without surrendering
the software and the debtor's other business assets; and (ii) the
plan is not feasible as the debtor has no apparent ability to
fund the plan, as discussed above. See Arnold & Baker Farms v.
United States (In re Arnold & Baker Farms), 85 F.3d 1415, 1423
(9ch Cir. 1996) (prohibiting the surrender of only some
collateral to an under-secured creditor in the satisfaction of
the “indubitable equivalent” requirement of ll U.S.C. §
1129(b)(2)(A)(iii)).

Lastly, the debtor has made no effort since filing the
petition to recover the over-advances and claims against
patients. _§§ December l, 2007 Memorandum, at 3-4. In general,
and as explained in its December 1 Memorandum, all of the
debtor's pre-petition rights to payment have serious and
significant collectibility issues. Inaction will only exacerbate
these issues.

The court concludes that there is cause to grant relief from
the automatic stay. The debtor has not demonstrated an ability

to reorganize or to adequately protect Bridge's interest in its

_4_

 

 

.(>.bJN

C\OOO\]O\U\

11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

CaSe 07-28444 Filed 01/03/08 DOC 203

collateral.

Accordingly, Bridge's motion will be granted pursuant to ll
U.S.C. § 362(d)(1) to permit it to repossess its collateral (but
as to deposits and banks accounts, see below), dispose of it
pursuant to applicable law, and to use the proceeds from its
disposition to satisfy its claim. No other relief is awarded at
this time.

Bridge shall lodge proposed findings of fact and conclusions
of law, as well as a proposed order on the motion, consistent
with this ruling no later than February 4, 2008.

Finally, the debtor's motion to use cash collateral is not
really a motion to use cash collateral. Rather, it is a motion
pursuant to 11 U.S.C. § 361 asking the court to establish
adequate protection for Bridge's replacement lien on the debtor's
post-petition accounts receivable. According to the motion, the
maximum cash necessary to satisfy Bridge's replacement lien on
post-petition accounts is $153,755. It proposes to place this
sum, derived from the collection of post-petition receivables
and, if necessary, money advanced by an insider, into a
segregated account for the benefit of Bridge.

It will go into a segregated account rather than to Bridge
for two reasons. First, as to $37,808 of the $153,755, it is
unclear whether Bridge or DSI is entitled to the money. Second,
the debtor wants a fund from which it can collect amounts it is
demanding from Bridge. lt intends to file a surcharge motion
pursuant to ll U.S.C. § 506(c) for its improvement and protection
of Bridge's collateral, as well as a motion for attorneys' fees

for work related to the civil contempt motion.

-5_

 

 

y_¢

O\DOO\!O\U!J>WN

[\)[\)[\)[\_)[\)[\)[\)[\)[\)o-¢»_¢»-»_-»_¢v_¢>-¢)-d»-¢>_¢
OO\!O\Ul-PWN*-‘O\OOO\lO\Lh-I>L»JN*-‘

 

CaSe 07-28444 Filed 01/03/08 DOC 203

The motion goes on to request that, once the account is
funded, that the debtor be permitted to use the revenue derived
from post-petition accounts because it no longer will be Bridge's
cash collateral. However, if these accounts are no longer cash
collateral, the debtor does not need the permission of the court
to use them in ordinary course of its business. §§§ ll U.S.C. §
363(c)(l).

Therefore, assuming the debtor still wishes to proceed with
this last motion given the disposition of the motion for relief
from the automatic stay, it will be granted with four caveats.

First, the motion did not include a request to approve a
loan from the insider to fund the bank account. Therefore, if a
loan is necessary, absent a further motion, the loan shall be on
an unsecured, nonpriority basis.

Second, the bank account must be funded no later than
January 10, 2008. If not funded, Bridge's relief from the
automatic stay shall extend to all of the debtor's bank accounts
and deposits in which it has a security interest. Once funded,
Bridge's relief from the automatic stay shall extend to any of
the debtor's bank accounts and deposits in which Bridge has a
security interest other than the bank account established
pursuant to the cash collateral motion.

Third, the debtor shall have until February 4, 2008 to file
and serve the motion under 506(c) and the motion for fees. If
not filed, the amount in the account will be disbursed to Bridge.
If filed, the amount remaining in the account after the
disposition of the motions will be disbursed to Bridge.

Fourth, as suggested above, the court will not order that

_6_

 

 

Ul-l>b~)[\)

\OOO\]O\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

CaSe 07-28444 Filed 01/03/08 DOC 203

the debtor is free to use cash collateral derived from post-
petition receivables simply because it has otherwise provided for
Bridge's replacement lien on those receivables, That makes
little sense. Instead, the motion will be treated as being
brought under section 361. If a segregated account is funded
with $153,755 for the benefit of Bridge, the account will
supplant Bridge's post-petition replacement lien on accounts
receivable.

Dated:gb,*1.>od?

By the Court

>Qi.__`

Michael S. McManus, Chief Judge
United States Bankruptcy Court

 

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

CaSe 07-28444 Filed 01/03/08 DOC 203

CERTIFICATE OF MAILING
l, Susan C. CoX, in the performance of my duties as a
judicial assistant to the Honorable Michael S. McManus, mailed by
ordinary mail to each of the parties named below a true copy of
the attached document.

Daniel Egan
400 Capitol Mall 22nd Fl
Sacramento, CA 95814`

Marc Levinson
400 Capitol Mall #3000
Sacramento, CA 95814-4407

Michael Heyman
lOlOO Santa Monica Blvd 7th Fl
Los Angeles, CA 90067

Ocheds Billing Services, lnc.
PO Box 227
Sacramento, CA 95812

Office of the U.S. Trustee
Robert T Matsui US Courthouse
501 l Street, Room 7-500
Sacramento, CA 95814

Dated: January jé, 2008

Ww<m/a/@=€é?-W

Susan C. Cox
Judicial Assistant to Judge McManus

 

 

